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 7
 8                   IN THE UNITED STATES DISTRICT COURT FOR THE
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )               1:11-CR-00016-AWI
                                   )
12                  Plaintiff,     )               FINAL ORDER OF FORFEITURE
                                   )
13        v.                       )
                                   )
14   VICTOR PUGA QUIROZ,           )
     CARLOS BENAVIDEZ TEJEDA,      )
15   ABEL FABELA ZARAGOZA,         )
     JOSE ALFREDO COLORADO MUNOZ, )
16    aka Alfredo Colorado,        )
     LUIS PUNTOS COAHUILAS,        )
17                                 )
                    Defendants.    )
18   ______________________________)
19          WHEREAS, on July 15, 2011, April 24, 2012, June 8, 2012,
20   July 3, 2012, and August 1, 2012, the Court entered Preliminary
21   Orders of Forfeiture, pursuant to the provisions of 18 U.S.C. §
22   981(a)(1)(C) and 28 U.S.C. § 2461(c), based upon the plea
23   agreements entered into between plaintiff and defendants Victor
24   Puga Quiroz, Carlos Benavidez Tejeda, Abel Fabela Zaragoza, Jose
25   Alfredo Colorado Munoz aka Alfredo Colorado, and Luis Puntos
26   Coahuilas forfeiting to the United States the following property:
27                  a.     The following items seized from the van
                           of QUIROZ on November 16, 2010:
28



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 1                         i.   Approximately 3,200 DVDs and 772 CDs,
                           ii. Two Sony DVD players,
 2                         iii. One Hitachi DVD player,
                           iv. One Curtis DVD player,
 3                         v.   One Sony LCD flat screen television,
 4                  b.     The following items seized from QUIROZ’
                           residence at 1325 Ensenada Drive, Modesto,
 5                         California on November 16, 2010:
 6                         i.   Approximately 5,043 DVDs and 202 CDs,
                           ii.  Approximately 3 CD and DVD disc
 7                              replicators,
                           iii. Approximately 950 blank CD and DVD
 8                              media,
                           iv. Approximately 3,793 CD and DVD cases,
 9                         v.   One Panasonic digital camera,
10                  c.     The following items seized from QUIROZ’
                           residence at 207 N. Riverside Drive, Modesto,
11                         California on November 16, 2010:
12                         i.   Approximately 8,701 DVDs and 69,638 CDs,
                           ii.  Approximately 5 CD and DVD disc
13                              replicators,
                           iii. Approximately 100 blank CD and DVD
14                              media,
                           iv. Approximately 1,770 CD and DVD cases,
15
                    d.     Approximately 32,561 DVDs and 168,247 CDs
16                         seized from the warehouse at 360 Wooster Ave,
                           San Jose, California on November 23, 2010,
17
                    e.     The following items seized from the warehouse
18                         at 360 Wooster Ave, San Jose, California on
                           November 23, 2010:
19
                           i.     CD and DVD cover artwork,
20                         ii.    Approximately 10,450 blank CD and DVD
                                  media,
21                        iii.    Approximately 15,096 CD and DVD cases,
                           iv.    seal bags and wrappers,
22                          v.    Approximately 5 CD and DVD disc
                                  replicators,
23                         vi.    HP Studio Jet 50 printer, serial number
                                  MY5A1122C,
24                       vii.     HP Q2288L printer, serial number
                                  MY8985R1C7,
25                       viii.    Epson Artisan 840 printer, serial number
                                  LJDY191711,
26                         ix.    HP PhotoSmart Plus, serial number
                                  CN0F412P4,
27                           x.   Gateway NV78 laptop computer, serial
                                  number LXWE802005942023A31601,
28                         xi.    Compaq Presario 85000NX computer, serial



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 1                               number MXK3350V0D,
                          xii.   “Multi-media computer system” generic
 2                               computer,
                         xiii.   Approximately five internal and external
 3                               hard drives,
                          xiv.   Two Thumb drives,
 4                         xv.   Approximately 142 DVD and CD master
                                 disks,
 5                        xvi.   One generic, black Computer System,
                         xvii.   2-Wire gateway router, serial number
 6                               301019093693,
                       xviii.    One LG portable CD/DVD drive, serial
 7                               number 009HKAT061664,
                          xix.   Approximately 12 cases of blank paper,
 8                         xx.   Approximately 5,000 plastic bags,
 9                  f.     Approximately 1060 DVDs and CDs seized from
                           the minivan of Carlos Benavidez Tejeda on
10                         November 16, 2010,
11                  g.     Approximately 700 CDs seized from Carlos
                           Benavidez Tejeda’s rented storage unit at
12                         Superior Self Storage, Unit 8120, 1300 El
                           Camino Avenue, Sacramento, California on
13                         December 13, 2010,
14                  h.     Approximately 546 DVDs and 5,776 CDs seized
                           from the home of Abel Fabela Zaragoza at 830
15                         Brae Ave, Sacramento, CA 95838 on August 23,
                           2010, and
16
                    i.     Approximately 12,523 CDs seized from Abel
17                         Fabela Zaragoza’s rented storage unit at 4161
                           Pell Dr, Sacramento, CA 95838 on August 23,
18                         2010.
19          AND WHEREAS, beginning on July 24, 2011, May 6, 2012, July
20   14, 2012, and August 4, 2012, for at least 30 consecutive days
21   respective to each commencement date, the United States published
22   notice of the Court’s Orders of Forfeiture on the official
23   internet government forfeiture site www.forfeiture.gov.           Said
24   published notice advised all third parties of their right to
25   petition the Court within sixty (60) days from the first day of
26   publication of the notice for a hearing to adjudicate the
27   validity of their alleged legal interest in the forfeited
28   property;



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 1          AND WHEREAS, the Court has been advised that no third party
 2   has filed a claim to the subject property and the time for any
 3   person or entity to file a claim has expired.
 4          Accordingly, it is hereby ORDERED and ADJUDGED:
 5          1.      A Final Order of Forfeiture shall be entered forfeiting
 6   to the United States of America all right, title, and interest in
 7   the above-listed property pursuant to 18 U.S.C. § 981(a)(1)(C)
 8   and 28 U.S.C. § 2461(c), to be disposed of according to law,
 9   including all right, title, and interest of defendants Victor
10   Puga Quiroz, Carlos Benavidez Tejeda, Abel Fabela Zaragoza, Jose
11   Alfredo Colorado Munoz aka Alfredo Colorado, and Luis Puntos
12   Coahuilas.
13          2.      All right, title, and interest in the above-listed
14   property shall vest solely in the name of the United States of
15   America.
16          3.      The Federal Bureau of Investigation shall maintain
17   custody of and control over the subject property until it is
18   disposed of according to law.
19
20   IT IS SO ORDERED.
21
     Dated:    January 22, 2013
22   0m8i78                                      SENIOR DISTRICT JUDGE
23
24
25
26
27
28



     FINAL ORDER OF FORFEITURE            4
